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                                  UNITED STATES DISTRICT COURT
                                          District of Minnesota




Tayah Lackie
                                                       JUDGMENT IN A CIVIL CASE
                                    Plaintiff,
                                                                           24-cv-01684-LMP-LIB
v.                                                          Case Number:
Minnesota State University Student
Association, Inc., St. Cloud State University,
Robbyn R. Wacker, Larry Lee

                                    Defendants.




     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
      and the jury has rendered its verdict.

     Decision by Court. This action came to trial or hearing before the Court. The issues have
     been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

         1. Defendant Robbyn R. Wacker is DISMISSED from this action.

         2. Defendant Larry Lee is DISMISSED from this action.

         3.                                      DISMISSED WITHOUT PREJUDICE.

         4.                                            DISMISSED WITH PREJUDICE.




      Date: 2/7/2025                                             KATE M. FOGARTY, CLERK
